  Case 8-18-78265-reg     Doc 23     Filed 04/02/19         Entered 04/02/19 15:12:01


                    KOZENY & MCCUBBIN, L.C. LLC
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April 2, 2019

VIA ELECTRONIC FILING

Honorable Robert E. Grossman
United States Bankruptcy Court
290 Federal Plaza
Central Islip, NY 11722

Re:         Damianos Loizou and Karen S. Schmermund, aka
Karen S. Loizou
Creditor:   Specialized Loan Servicing, LLC as servicer for U.S. Bank
National Association, as Trustee for Banc of America Funding Corporation
2007-3
Chapter:    7
Case:       18-78265-reg

Dear Judge Grossman,

      This firm represents Specialized Loan Servicing, LLC as servicer for U.S.
Bank National Association, as Trustee for Banc of America Funding Corporation
2007-3, a secured creditor of the above referenced Debtor.

      Please accept this letter as confirmation that the Motion for Relief From
Automatic Stay filed on behalf of Specialized Loan Servicing, LLC as servicer for
U.S. Bank National Association, as Trustee for Banc of America Funding
Corporation 2007-3 as ECF No. 15 is adjourned, on consent, from 04/10/2019 at
9:30 AM to 05/08/2019 at 9:30 AM.

       Thank you for your time and consideration.

                                              Respectfully,

                                              /s/ Wesley T. Kozeny
                                              By: Wesley T. Kozeny, Esq.
                                              Attorney for Movant
                                              12400 Olive Blvd, Ste 555
                                              St. Louis, MO 63141
                                              Phone: (314) 991-0255
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     MISSOURI        KANSAS      NEBRASKA          OKLAHOMA             NEW YORK
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CC:
Adam C Gomerman (via ECF)
Marc A Pergament (via ECF)




       MISSOURI   KANSAS        NEBRASKA     OKLAHOMA     NEW YORK
